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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA,                            )
                                                     )
                               Plaintiff;            )
                                                     )
                                                     )   Case No. 21-CR-105 (APM)
                     v.                              )
                                                     )
                                                     )
HENRY MUNTZER,                                       )
                                                     )
                               Defendant.            )



                               NOTICE OF WITHDRAWAL

      The undersigned Assistant Federal Public Defender specified below, inadvertently entered

her appearance in this case. Mr. Muntzer retained William L. Shipley. See ECF No. 39.



                                            Respectfully submitted,

                                            A.J. KRAMER
                                            FEDERAL PUBLIC DEFENDER

                                               /s/

                                            UBONG E. AKPAN
                                            Assistant Federal Public Defender
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